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                                                   UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF VIRGINIA

                                                                    CHAPTER 13 PLAN
                                                                  AND RELATED MOTIONS
                                    Derrell Thomas Harris
Name of Debtor(s):                  Bridgett Archer Harris                                Case No:   13-36544-KRH


This plan, dated          December 16, 2013               , is:

                               the first Chapter 13 plan filed in this case.
                               a modified Plan, which replaces the
                                 confirmed or unconfirmed Plan dated .

                               Date and Time of Modified Plan Confirming Hearing:

                               Place of Modified Plan Confirmation Hearing:


                      The Plan provisions modified by this filing are:


                      Creditors affected by this modification are:


NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this Plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This Plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than seven (7) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing. If no objections are timely filed, a confirmation hearing will NOT be held.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $127,949.00
          Total Non-Priority Unsecured Debt: $85,355.00
          Total Priority Debt: $4,026.00
          Total Secured Debt: $94,100.00




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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $200.00 Monthly for 60 months. Other payments to
           the Trustee are as follows: NONE . The total amount to be paid into the plan is $ 12,000.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.          Administrative Claims under 11 U.S.C. § 1326.

                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums
                                    disbursed except for funds returned to the debtor(s).
                       2.           Debtor(s)' attorney will be paid $ 2,500.00 balance due of the total fee of $ 3,000.00 concurrently
                                    with or prior to the payments to remaining creditors.

           B.          Claims under 11 U.S.C. §507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                       other priority creditors but concurrently with administrative claims above:

Creditor                                        Type of Priority                                     Estimated Claim       Payment and Term
Internal Revenue Service                        Taxes and certain other debts                               4,026.00                   Prorata
                                                                                                                                    24 months

3.         Secured Creditors: Motions to Value Collateral ("Cramdown"), Collateral being Surrendered, Adequate Protection
           Payments, and Payment of certain Secured Claims.

           A.          Motions to Value Collateral (other than claims protected from "cramdown" by 11 U.S.C. § 1322(b)(2) or by
                       the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the
                       Court may grant the debtor(s)' motion to value collateral as set forth herein.

           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           "cramdown" by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 3(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any "crammed down" loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 4 of the Plan.
           The following secured claims are to be "crammed down" to the following values:

       Creditor                                      Collateral                      Purchase Date      Est Debt Bal.    Replacement Value
-NONE-

           B.          Real or Personal Property to be Surrendered.

           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the claims
           of the following creditors in satisfaction of the secured portion of such creditors' allowed claims. To the extent that the
           collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay as to the interest of the debtor(s)
           and the estate in the collateral.

Creditor                                               Collateral Description                          Estimated Value    Estimated Total Claim
-NONE-




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           C.          Adequate Protection Payments.

           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 3(D) and/or 6(B) of the Plan, as
           follows:

                                                                                                         Adeq. Protection
Creditor                                               Collateral Description                            Monthly Payment                To Be Paid By
-NONE-
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           6(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).

           D.          Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 5 of
                       the Plan):

           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below, the
           monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation and interest rate shown below will be binding unless a timely written objection to confirmation is
           filed with and sustained by the Court.

                                                                               Approx. Bal. of Debt or     Interest
       Creditor                                Collateral                     "Crammed Down" Value          Rate      Monthly Paymt & Est. Term**
-NONE-


           E.          Other Debts.

           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 5 of the Plan.

4.         Unsecured Claims.

           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is approximately 2
                       %. The dividend percentage may vary depending on actual claims filed. If this case were liquidated under Chapter
                       7, the debtor(s) estimate that unsecured creditors would receive a dividend of approximately 0 %.

           B.          Separately classified unsecured claims.

Creditor                                                        Basis for Classification                                             Treatment
-NONE-




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5.         Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term
           Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any
           existing default under 11 U.S.C. § 1322(b)(5).

           A.          Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed below
                       will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will be paid
                       by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated below, without
                       interest unless an interest rate is designated below for interest to be paid on the arrearage claim and such interest is
                       provided for in the loan agreement.

                                                                                   Regular                Arrearage                       Monthly
                                                                                  Contract    Estimated    Interest     Estimated        Arrearage
Creditor                              Collateral                                  Payment     Arrearage     Rate       Cure Period        Payment
Ocwen Loan Servicing                  Primary Residence located at                  861.81     2,200.00      0%        13 months            Prorata
                                      4401 Crown Squire Road,
                                      Richmond VA 23231

           B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                       regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                       debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                       below.

                                                                                   Regular                                                Monthly
                                                                                  Contract     Estimated Interest      Term for          Arrearage
Creditor                              Collateral                                  Payment      Arrearage Rate          Arrearage          Payment
-NONE-

           C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                       constituting the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final
                       payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                       1322(c)(2) with interest at the rate specified below as follows:

                                                                                   Interest     Estimated
       Creditor                                    Collateral                       Rate         Claim         Monthly Paymt& Est. Term**
-NONE-


6.         Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts and
           leases listed below.

           A.          Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                  Type of Contract
-NONE-

           B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                       contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                       arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as indicated
                       below.

                                                                                                                    Monthly
                                                                                                                    Payment             Estimated
Creditor                                   Type of Contract                                   Arrearage           for Arrears          Cure Period
-NONE-




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7.          Liens Which Debtor(s) Seek to Avoid.

            A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a written
                        objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the creditor's
                        lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation hearing.

Creditor                                    Collateral                              Exemption Amount                        Value of Collateral
-NONE-

            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                        the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                        here is for information purposes only.

Creditor                                     Type of Lien                  Description of Collateral            Basis for Avoidance
-NONE-

8.          Treatment and Payment of Claims.

            •           All creditors must timely file a proof of claim to receive payment from the Trustee.
            •           If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                        object to confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the
                        Plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                        for in this case, after the debtor(s) receive a discharge.
            •           If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                        creditor will be treated as unsecured for purposes of distribution under the Plan.
            •           The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, encumber real property or enter into a mortgage loan
            modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.

10.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
            of $5,000 principal amount during the term of this Plan, either unsecured or secured against personal property, except upon
            approval of the Court after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the
            extent required by the Local Rules of this Court.

11.         Other provisions of this plan:
            I. Payment of Adequate Protection
            - All adequate protection payments set forth in Section 3.C are to be paid through the Trustee.
            - The Debtor(s) shall pay regular post-petition contract payments to the creditors listed in Section 5.A., and such
            payments shall also constitute adequate protection payments to such creditors. Accordingly, the Trustee shall not
            pay adequate protection payments to creditors listed in Section 5.A.
            - No adequate protection payments are to be paid to any creditors unless the Plan provides for the payment of
            adequate protection of such claim(s) through the Trustee in Section 3.C. or directly by the Debtor(s) in Section 5.A.,
            or unless the Court orders otherwise.




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Signatures:


Dated:       December 16, 2013


/s/ Derrell Thomas Harris                                                                       /s/ Patrick Thomas Keith VSB
Derrell Thomas Harris                                                                           Patrick Thomas Keith VSB 48446
Debtor                                                                                          Debtor's Attorney

/s/ Bridgett Archer Harris
Bridgett Archer Harris
Joint Debtor

Exhibits:             Copy of Debtor(s)' Budget (Schedules I and J);
                      Matrix of Parties Served with Plan


                                                                      Certificate of Service
I certify that on      December 16, 2013              , I mailed a copy of the foregoing to the creditors and parties in interest on the attached
Service List.

                                                            /s/ Patrick Thomas Keith VSB
                                                            Patrick Thomas Keith VSB 48446
                                                            Signature

                                                            P. O. Box 11588
                                                            Richmond, VA 23230-1588
                                                            Address

                                                            804-358-9900
                                                            Telephone No.



Ver. 09/17/09 [effective 12/01/09]




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Fill in this information to identify your case:

Debtor 1                      Derrell Thomas Harris

Debtor 2                      Bridgett Archer Harris
(Spouse, if filing)


United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               13-36544-KRH                                                                   Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing post-petition chapter
                                                                                                             13 income as of the following date:

Official Form B 6I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
                                             Employment status
       attach a separate page with
                                                                      Not employed                                 Not employed
       information about additional
       employers.                            Occupation                                                        Accounts Payable
       Include part-time, seasonal, or
                                             Employer's name       Unemployed                                  C&F Finance
       self-employed work.

       Occupation may include student        Employer's address
                                                                                                               1313 E. Main Street St. 400
       or homemaker, if it applies.                                                                            Richmond, VA 23219

                                             How long employed there?         Since 2011                                 Since 09/17/2007

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $              0.00       $         2,762.05

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $           0.00              $   2,762.05




Official Form B 6I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    Derrell Thomas Harris
Debtor 2    Bridgett Archer Harris                                                                Case number (if known)    13-36544-KRH


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         2,762.05

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $           278.53
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $             0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $             0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $             0.00
      5e.    Insurance                                                                     5e.        $              0.00     $           700.09
      5f.    Domestic support obligations                                                  5f.        $              0.00     $             0.00
      5g.    Union dues                                                                    5g.        $              0.00     $             0.00
      5h.    Other deductions. Specify: 401k Loan                                          5h.+       $              0.00 +   $            97.65
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $       1,076.27
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $       1,685.78
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00     $                0.00
      8g. Pension or retirement income                                                     8g.        $              0.00     $                0.00
                                               Federal and State Tax Refunds
      8h.    Other monthly income. Specify: Amortized                                      8h.+ $              428.00 + $                      0.00
             Odd Jobs                                                                           $              500.00   $                      0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            928.00         $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $               928.00 + $         1,685.78 = $             2,613.78
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                        0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $           2,613.78
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                           page 2
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Fill in this information to identify your case:

Debtor 1               Derrell Thomas Harris                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2               Bridgett Archer Harris                                                                  A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                            expenses as of the following date:

United States Bankruptcy Court for the:        EASTERN DISTRICT OF VIRGINIA                                        MM / DD / YYYY

Case number       13-36544-KRH                                                                                 A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                     maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                   12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:    Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                   No
                   Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?             No

      Do not list Debtor 1 and           Yes. Fill out this information for     Dependent’s relationship to           Dependent’s        Does dependent
      Debtor 2.                       each dependent...........                 Debtor 1 or Debtor 2                  age                live with you?

      Do not state the dependents'                                                                                                           No
      names.                                                                    Daughter                              10                     Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                 4. $                                861.00

      If not included in line 4:

      4a.   Real estate taxes                                                                            4a.   $                                   0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                 4b.   $                                   0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                                   0.00
      4d.   Homeowner’s association or condominium dues                                                  4d.   $                                   0.00
5.    Additional mortgage payments for your residence, such as home equity loans                          5.   $                                   0.00




Official Form B 6J                                                  Schedule J: Your Expenses                                                  page 1
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Debtor 1      Derrell Thomas Harris
Debtor 2      Bridgett Archer Harris                                                                               Case number (if known)           13-36544-KRH

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                              6a.   $                                    150.00
      6b.     Water, sewer, garbage collection                                                                            6b.   $                                      0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                              6c.   $                                      0.00
      6d.     Other. Specify: Natural Gas                                                                                 6d.   $                                    120.00
              Cable & Internet                                                                                                  $                                    150.00
              Cell Phone                                                                                                        $                                    150.00
7.    Food and housekeeping supplies                                                                   7.                       $                                    200.00
8.    Childcare and children’s education costs                                                         8.                       $                                      0.00
9.    Clothing, laundry, and dry cleaning                                                              9.                       $                                      0.00
10.   Personal care products and services                                                             10.                       $                                      0.00
11.   Medical and dental expenses                                                                     11.                       $                                     47.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                    12. $                                                          200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                                            0.00
14.   Charitable contributions and religious donations                                                14. $                                                            0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                            15a. $                                                          260.00
      15b. Health insurance                                                                          15b. $                                                            0.00
      15c. Vehicle insurance                                                                         15c. $                                                            0.00
      15d. Other insurance. Specify:                                                                 15d. $                                                            0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property                                                                      16. $                                                           15.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                17a. $                                                             0.00
      17b. Car payments for Vehicle 2                                                                17b. $                                                             0.00
      17c. Other. Specify:                                                                           17c. $                                                             0.00
      17d. Other. Specify:                                                                           17d. $                                                             0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                            18. $                                                             0.00
19.   Other payments you make to support others who do not live with you.                                 $                                                             0.00
      Specify:                                                                                        19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                               20a. $                                                           0.00
      20b. Real estate taxes                                                                         20b. $                                                           0.00
      20c. Property, homeowner’s, or renter’s insurance                                              20c. $                                                           0.00
      20d. Maintenance, repair, and upkeep expenses                                                  20d. $                                                           0.00
      20e. Homeowner’s association or condominium dues                                               20e. $                                                           0.00
21.   Other: Specify:     Child Care                                                                  21. +$                                                        260.00
22. Your monthly expenses. Add lines 4 through 21.                                                                        22.       $                          2,413.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                   2,613.78
    23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                  2,413.00

      23c.    Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                     23c. $                                      200.78

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
      your mortgage?
           No.
           Yes. Explain:




Official Form B 6J                                                         Schedule J: Your Expenses                                                                  page 2
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                        Office of the US Trustee
                        701 E. Broad Street
                        Room 4304
                        Richmond, VA 23219


                        Bon Secours Richmond Health Sy
                        RE: Bankruptcy
                        P.O. Box 28538
                        Richmond, VA 23228


                        C&F Bank
                        Re: Bankruptcy
                        PO Box 391
                        West Point, VA 23181


                        Chase Card Services
                        P.O. Box 15298
                        Wilmington, DE 19850


                        Credit Control Corporation
                        11821 Rock Landing Drive
                        Newport News, VA 23606-4207


                        Credit One Bank
                        P.O. Box 98873
                        Las Vegas, NV 89193-8873


                        Discover Financial Services
                        P.O. Box 6103
                        Carol Stream, IL 60197-6103


                        Dominion Credit Union, Inc
                        Re: Bankruptcy
                        P.O. Box 26646
                        Richmond, VA 23261-6646


                        Elan Financial Services
                        Cb Disputes
                        P.O. Box 108
                        Saint Louis, MO 63166


                        Fed Loan Servicing
                        P.O. Box 69184
                        Harrisburg, PA 17106
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                    GECRB/ JC Penneys
                    P.O. Box 960090
                    Orlando, FL 32896-0090


                    GECRB/ Sams Club
                    P.O. Box 965005
                    Orlando, FL 32896


                    Internal Revenue Service
                    400 N. 8th St., Box 76
                    Stop Room 898
                    Richmond, VA 23219


                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346


                    Internal Revenue Service
                    Proceedings & Insolvencies
                    P.O. Box 21126
                    Philadelphia, PA 19114-0326


                    KOHLS/Capital One
                    P.O. Box 3115
                    Milwaukee, WI 53201


                    Macy's/DSNB
                    P.O. Box 8218
                    Mason, OH 45040


                    MCV Collection Department
                    Re: Bankruptcy
                    PO Box 980462
                    Richmond, VA 23298


                    MCV Physicians Billing Office
                    RE: Bankruptcy
                    PO Box 91747
                    Richmond, VA 23291-1747


                    Memorial Regional Medical Cent
                    P.O. Box 28538
                    Richmond, VA 23228
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                    Ocwen Loan Servicing
                    P.O. Box 785057
                    Orlando, FL 32878-5056


                    STT/Cigpficorp
                    4315 Pickett Rd
                    Saint Joseph, MO 64503


                    Toys R Us
                    1 Geoffrey Way
                    Wayne, NJ 07470-2035


                    VA Power/NC Power Credit U
                    P.O. Box 26646
                    Richmond, VA 23261


                    VCU Health System
                    PO Box 980462
                    Richmond, VA 23298
